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DEC   i z Z0tg
                           UNITED STATES DISTRICT COURT
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                           NORTHERN DISTRICT OF ILLINOIS                   Dtc   1 22019
                                 EASTERN DIVISION
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 UNITED STATES OF AMERICA                      No. 18 CR 696

                  v.                           Violation: Title 18, United States Code,
                                               Sections 371, 1030, and 23398(a)(1)
 ASHRAF AL SAFOO,
  alkla Abu Al'-Abbas AI-Iraqi,                SUPERSEDING INDICTMENT
  alkla Abu Shanab,
  alkla Abbusi                                                   JUI}OE BI.AIGY
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                                          couNT     oNE
       The SPECIAL MAY 2019 GRAND JURY charges:

       1.        At times material to this indictment:

                 a.    ASHRAF AL SAFOO, alkla Abu Al'-Abbas Al-Iraqi, alkla Abu

Shanab, alkla Abbusi, was a resident of Chicago.

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       2.        On or about October L5, 2004, the United States Secretary of State

designated al-Qa'ida      in Iraq, then known as Jam'at aI Tawhid wa'al-Jihad, as a
foreign terrorist organization under Section 2I9 of the Immigration and Nationality

Act and as a Specially Designated Global Terrorist under section 1ft) of Executive

Order t3224.

       3.        On or about May 15, 20L4, the Secretary of State amended the
designation of al-Qa'ida in Iraq as a foreign terrorist organrzation under Section 219

of the Immigration and Nationality Act and as a Specially Designated Global
Terrorist entity under section 1ft) of Executive Order L3224 to add the alias Islamic
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State of Iraq and the Levant as its primary name. The Secretary also added the

following aliases to the foreign terrorist organization listing: The Islamic State of Iraq

and al-Sham, the Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya         fi al-Iraq
wa-sh-Sham, Daesh, Dawla al Is1amiya, and Al-Furquan Establishment for Media

Production.

        4.      On or about September 21, 2015, the Secretary of State added the

following aliases to the foreign terrorist organization listing: Islamic State, ISIL, and

ISIS.

        5.      On or about March 2L,20t9, the Secretary of State added the following

aliases to the foreign terrorist organrzation listing: Amaq News Agency and AI Hayat

Media Center.

                              Khattab Media Foundation

        6.      Khattab Media Foundation ("Khattab") was             an   internet-based

organization dedicated to the creation and dissemination of pro-ISIS information,

including edited video content and infographics created through the use of video and

photo editing and other similar software. Khattab used a unique logo to identifi,

certain products it created and disseminated.

        7   .   Khattab had sworn bayat, or an oath of allegiance, to ISIS's then-leader

Abu Bak'r Al-Baghdadi.

        8.      Khattab posted its pro-ISIS videos, articles and infographics across

multiple social media platforms including Tkitter, Facebook, and YouTube.




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                                          Twitter

       9.     Twitter, Inc. ("Twitter") was a microblogging and social networking

service based   in California. A Twitter account could be created by a user providing
an email address or telephone number. The registered email address could be used to

reset the Twitter password by requesting that Twitter send a password reset link to

the email address.

                                         Hotmail

       10.    Hotmail was a free email service provider. Hotmail email addresses

could be used to create T\ryitter accounts.

                             Social Media Application A

      LL.     Socia1 Media Application        A was a mobile and desktop messaging
application. Social Media Application A allowed users to communicate with each

other in chat rooms called groups. Groups could be set up as private, and only

approved users could get access to private groups.

       t2.    Beginning no later than in or about June 2017, and continuing until at

Ieast on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                  ASHRAF AL SAFOO,
             alkl a Abu A1' -Abbas Al-Ira qi, alkl a Abu Shan ab, alkl a Abbusi,

defendant herein, together with others known and unknown, knowingly conspired to

provide material support and resources, namely, services, to a foreign terrorist

organization, namely, the Islamic State of Iraq and al Sham, knowing that the
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organization was    a   designated foreign terrorist organization, and     that   the

organtzation had engaged in and was engaging in terrorist activity and terrorism;

      In violation of Title 18, United States Code, Section 2339B(a)(1).




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                                      COUNT TWO
       The SPECIAL MAY 2019 GRAND JURY further charges:

       1.    The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.    Co-Conspirator    A,    Co-Conspirator   B,   Co-Conspirator   C, and Co-
Conspirator D were members of Khattab and used Social Media Application A to

communicate with other Khattab members, including defendant.

       3.    Beginning no later than in or around June 2077, and continuing until at

least on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               ASHRAF AL SAFOO,
            alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, did conspire with Co-Conspirator A, Co-Conspirator B, and with

others known and unknown, to knowingly and willfully transmit               in   interstate

commerce communications containing threats to injure the person of another, in

violation of Title 18, United States Code, Section 875(c).

      4.     It was part of the conspiracy that Khattab members, including
defendant, Co-Conspirator A, Co-Conspirator B, and others, caused to be created and

created videos and infographics that contained threats to injure others, sometimes

referencing ISIS, directed towards citizens of different countries to include the United

States, the United Kingdom, France, Australia, Russia and Iraq.

      5.     It was further part   of the conspiracy that members of Khattab, including

defendant, Co-Conspirator A, Co-Conspirator B, and others, communicated on Social



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Media Application A, including in private groups, regarding videos and infographics

that contained threats to others and the objectives in creating these videos and

infographics.

       6.       It was further part of the conspiracy that members        of Khattab, including

defendant, Co-Conspirator A, Co-Conspirator B, and others worked to distribute the

videos and infographics to the public through various social media platforms.

       7.       It   was further part of the conspiracy that defendant and others

concealed, misrepresented, and hid, and caused to be concealed, misrepresented, and

hidden, the existence, purpose, and acts done in furtherance of the conspiracy.

       8.       In furtherance of the conspiracy and to accomplish its objectives          and

purposes, defendant and others committed and caused to be committed the following

overt acts:

                a.     Between June 2017 and October 20L8, Khattab members

communicated on Social Media Application A regarding videos and infographics that

contained threats to injure others.

                b.     In or around August        2017,   in   response   to another Khattab
member's comment, in Arabic, to "Create a subject, to talk to the infidel nations that

are targeted by the State," Co-Conspirator A wrote, in Arabic,                in   Social Media

Application A, "Yes,      I   agree with you, a small release      that doesn't surpass    five

minutes, made of two parts, the first to incite the Muslims to respond and punish the

citizens of the Crusader states, avenging the Muslims in the Islamic State, and show

clips of the Cross worshippers' crimes through it, whether         it   was bombings or other




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things. And the second part is to send a message to the Cross worshipping citizens

that they will not enjoy or dream of safety as long as their governments are fighting

the Islamic State."

             c.       On or about September 26, 2017,        in response to a Khattab
member's comment, in Arabic, on Social Media Application A, "State [ISIS] fighters

take control of most of University of Al-Anbar [Iraq] buildings," defendant wrote, in

Arabic, "Post it, brothers, to cause confusion and spread terror within the hearts of

those who disbelieved."

             d.       On or about September 26, 2077,        in response to a Khattab
member's comment on Social Media Application A regarding ISIS's control over areas

around Al Ramadi in Iraq, defendant wrote, in Arabic, "We must spread fear among

them, brothers. Access their media pages, Western #Al-Ramadi areas."

             e.       In or around October 2017, Khattab created an infographic which

stated in English "Las Vegas" and which stated, in Arabic, "America has drowned

and there is no rescuer . . . And   it   has become a prey for the Caliphate soldiers in

every corner of Earth." Co-Conspirator           B   directed the Khattab members to

"disseminate brothers" and defendant responded, in Arabic, by stating "There must

be a release...All the foundations made releases."

             f.       On or about October 8, 2077 , Khattab created and distributed on

the internet an infographic depicting the Las Vegas shooter which contained Arabic

writing and stated, in English, "The Las Vegas Conquest,"
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              g.     On or about December 14, 2077, Co-Conspirator B posted on

Social Media Application A, the following message in Arabic, "A message to all the

followers, especially the designers:     I   advise you to master your work and increase

designs. By Allah, it's a blaze that   will devour the cross worshippers. Don't forget you

are the ones who represent the Islamic State on the Internet, so present       it in a fine
way and teruortze Allah's enemies. Don't belittle your support for us because its

impact is more intense than arrows."

             h.     On or about December 26, 20L7 , Khattab created and distributed

on the internet a video titled "Our gifts are ready." The video stated "Now listen you

dogs of he1l. This is a message and more are going to follow. This is just the beginning.

Our gifts are now ready." The video shows a present under a Christmas tree that

contains a bomb with a timer ticking down before cutting to a video of a mass

shooting. The video then uses animation to show families standing around the

Christmas tree. Standing behind them is a person dressed in aII black and holding

what appears to be a detonator. As he raises the detonator, the video flashes to

various landmarks and cities, including: Berlin, Brussels, London, Moscow, New

York, Paris, and Sydney. The soldier then detonates the bomb and the video is

engulfed in flames. The video ends with the Khattab logo.

             i.     In or around December 20L7 , Khattab created and distributed on

the internet an infographic of a headless Santa Claus sitting in a rocking chair next

to a Christmas tree holding his own head and with the message, in Arabic, "New
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design# Khattab Media Foundation: Soon# the presents of the Caliphate State." The

infographic says, in English and Arabic, "The Khilafahs presents are on their way."

                      On or about August 3,2018, Co-Conspirator B, in Arabic, directed

the other members of Khattab on Social Media Application A to "prepare a campaign

that takes into consideration the following points: Threat letters for the Islamic State

enemies   that    it is continuing to deliver its promise of extracting apostasy and
defection."

              k.      On or about September 11, 2018, Co-Conspirator B directed other

members of Khattab, on Social Media Application A, to post a Khattab created

infographic depicting the World Trade Center buildings on fire, with the message, in

English, "Our upcoming terror will make you forget the horrors you saw in New Yoek

and Washington raids!"

              L       A Khattab created infographic, which was kept on defendant's
phone and dated on the phone in or around September 2018, depicted a plane flying

into the World Trade Center buildings with the message, in English, "We have by

Allah's grace made you forget the horrors of Washington and New York raids, and

today, we remind you of them and promise you a terrorism, which         will make you
forget the most precious thing that you have."
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             m. A Khattab created infographic,       which was kept on defendant's

phone and dated on the phone in or around October 2018, depicted a purported ISIS

frghter looking over a smoldering city, with the message, in Eng1ish, "State of the

Caliphate Islamic State The future will be bitter and worse. We will water the earth

with your blood. Prepare your coffrns. And dig your graves."

      In violation of Title 18, United States Code, Section 371.




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                                   COUNT THREE
       The SPECIAL MAY 2019 GRAND JURY further charges:

        1.     The allegations in paragraphs    1   through 11 of Count One and paragraph

2 Count Two of this superseding indictment are incorporated here.

       2.      Beginning no later than in or about April 2078, and continuing until at

least on or about October 13, 2018, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqr, alkla Abu Shanab, alkla Abbusi,

defendant herein, did conspire with Co-Conspirator C, Co-Conspirator D, and others

known and unknown to intentionally access a protected computer used in interstate

and foreign commerce without authorization, and thereby obtained information from

a protected computer,   with the offense being committed in furtherance of a criminal

act in violation of the laws of the United States, specifically Title 18, United States

Code, Section 23398, in violation of   Title 18, United States Code, Section 1030(a)(2)

and (c)(2)(B)(iii).

       3.      It was part of the conspiracy that Khattab members sought to
disseminate information on behalf of ISIS using Twitter.

       4.      Khattab members were aware that social media accounts, including

Twitter accounts, used to promote ISIS, violence, or terrorism were often suspended

or closed by Twitter.

       5.      It was further part of the conspiracy that Khattab        members shared

information related to "seizing" or "hacking" social media accounts, including Tkitter



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accounts, in order to disseminate information promoting ISIS, violence, and terrorism

and to avoid or delay having their social media accounts suspended or closed after

the information was disseminated.

       6.     It    was further part of the conspiracy that Khattab members created

accounts on Hotmail as a means to reset passwords for Twitter Accounts registered

to third parties.

       7.     It    was further part of the conspiracy that defendant and others

concealed, misrepresented, and hid, and caused to be concealed, misrepresented, and

hidden, the existence, purpose, and acts done in furtherance of the conspiracy

                                         Overt Acts

       8.     In furtherance of this conspiracy, and to accomplish its objectives and

purposes, defendant AL SAFOO and others, committed and caused to be committed

the following overt acts, among others:

              a.       On or about   April 12,2018, Co-Conspirator   C member posted, in

Arabic, on Social Media Application A, "seize [a Twitter account], it is better because

[the account] stays with you longer." He then posted instructions, via a video link, to

register Hotmail accounts in order to gain unauthorized access to Twitter accounts

and wrote, in Arabic, "this technique is only for the supporters of the Caliphate."

              b.       On May 1, 2018, defendant posted a link in a Khattab chat room

to a video titled, in Arabic, "Stealing Twitter Accounts."

              c.       On or about June 6, 2078, Co-conspirator D posted on Social

Media Application A, in Arabic, "Does anyone need seized Twitter accounts?"




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             d.     In or around and between August 2018 and October 2019,
defendant possessed a video titled, in Arabic, "How to Seize T\ryitter accounts through

a Hotmail available   in (Taking over Twitter accounts) channel."

             e.     In or around and between August 2018 and October 2018,
defendant saved information to his iPhone related to Twitter accounts that he

accessed or attempted to access   without authorization.

             f.    In or    around and between August 2018 and October 2018,

defendant attempted to access Twitter accounts without authorization.

             g.    On or about September 16, 2018, defendant accessed Twitter

Account B without authoriza.tion.

             h.    On or about September 17, 2018, and September 19,             2018,

defendant accessed Twitter Account D without authorization.

             i.    On or about September 20, 2018, defendant accessed Twitter

Account A without authorization.

             j.    On or about September 25, 20L8, defendant accessed Twitter

Account C without authorization.

      In violation of Title 18, United States Code, Section 371.




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                                    COUNT FOUR
       The SPECIAL MAY 20tg GRAND JURY further charges:

       1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.      On or about September 16, 20t8, in the Northern District of lllinois,

Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqr, alkla Abu Shanab, alkla Abbusi,

defendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained. information from a

protected computer, through Twitter Account A, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title 18, United States Code, Section 2339B(a)(1);

       In violation of Title 18, United States Code, Section 1030(a)(2)(C) and
1030(c)(2)(B)(ii).




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                                      COUNT FIVE
      The SPECIAL MAY 2079 GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 16, 2018 and September       t7, 2018,
in the Northern District of Illinois, Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account A, to the Islamic State of Iraq

and al Sham, knowing that     it   was designated a foreign terrorist organrzation and

that the organization had engaged in and was engaging in terrorist activity and
terrorism;

      In violation of Title 18, United States Code, Section 23398(aX1).




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                                     COUNT SD(
      The SPECIAL MAY 2079 GRAND JURY further charges:

       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      Between   on or around September 17, 2018, and on or                 about

September 19, 2018,    in the Northern District of Illinois, Eastern Division,       and

elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alWa Abbusi,

defendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account B, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title 18, United States Code, Section 2339B(a)(1);

      In violation of Title    18, United States Code, Sections 1030(a)(2)(C) and

1030(c)(2)(BXii).




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                                     COUNT SEVEN
      The SPECIAL MAY zotg GRAND JURY further charges:

      1.      The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 17, 2018 and September 19, 2018,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                               ASHRAF AL SAFOO,
             alklaAbu Al'-Abbas AI-Iraqi, alWa Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account B, to the Islamic State of Iraq

and al Sham, knowing that     it   was designated a foreign terrorist organization and

that the organization had engaged in and was engaging in terrorist activity and
terrorism;

      In violation of Title 18, United States Code, Section 2339B(a)(1).




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                                       COUNT EIGHT

       The SPECIAL MAY 20Lg GRAND JURY further charges:

       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.     On or about September 20, 2018, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                              ASHRAF AL SAFOO,
            akla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account C, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title 18, United States Code, Section 2339B(a)(1);

       In violation of Title   18, United States Code, Sections 1030(a)(2)(C) and

1030(cX2)(B)(ii).




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                                      COUNT NINE
      The SPECIAL MAY 2019 GRAND JURY further charges:

       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

      2.      On or about and between September 20, 2018 and September 25, 2018,

in the Northern District of Illinois, Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

defendant herein, knowingly provided and attempted to provide material support and

resources, namely, services through Twitter Account C, to the Islamic State of Iraq

and aI Sham, knowing that     it   was designated a foreign terrorist organization and

that the organization had engaged in and was engaging in terrorist activity and

terrorism;

      In violation of Title 18, United States Code, Section 2339B(aX1).




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                                     COUNT TEN
       The SPECIAL MAY       2}lg GRAND JURY further charges:
       1.     The allegations in paragraphs 1 through 11 of Count One of this

superseding indictment are incorporated here.

       2.     On or about September 25, 2018, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                ASHRAF AL SAFOO,
             alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alklaAbbusi,

d.efendant herein, intentionally accessed a protected computer used in interstate and

foreign commerce without authorization, and thereby obtained information from a

protected computer, through Twitter Account D, with the offense being committed in

furtherance of a criminal act in violation of the laws of the United States, specifically

Title 18, United States Code, Section 2339B(a)(1);

       In violation of Title   18, United States Code, Sections 1030(a)(2)(C) and

1030(c)(2)(B)(ii).




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                                           COUNT ELEVEN
             The SPECIAL MAY 2019 GRAND JURY further charges:

             1.      The allegations in paragraphs 1 through 11 of Count One of this

       superseding indictment are incorporated here.

             2.      On or about and between September 25, 2018 and October 7, 2018, in

       the Northern District of Illinois, Eastern Division, and elsewhere,

                                       ASHRA.F AL SAFOO,
                    alkla Abu Al'-Abbas Al-Iraqi, alkla Abu Shanab, alkla Abbusi,

       defendant herein, knowingly provided and attempted to provide material support and

       resources, namely, services through Twitter Account D, to the Islamic State of Iraq

       and al Sham, knowing that     it   was designated a foreign terrorist organrzation and

       that the organrzation had engaged in and was engaging in terrorist activity and
       terrorism;

             In violation of Title 18, United States Code, Section 2339B(a)(1).




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                                FORFEITURE ALLEGATION

                  The SPECIAL MAY 20tg GRAND JURY further charges:

                   1.    IJpon conviction of an offense in violation of Title 18, United

     States Code, Sections 1030(a)(2)(C) and 1030(c)(2)(B)(ir), as set forth           in   this

     indictment, defendant shall forfeit to the United States of America:

                  a.     any property constituting and derived from proceeds obtained

     directly and indirectly as a result of the offense, as provided in Title 18, United States

     Code, Sections 982(aX2)(B) and 1030(i)(1)(B); and

                  b.     any personal property used and intended to be used to commit

     and to facilitate the commission of the offense, as provided in Title 18, United States

     Code, Section 1030(i)(1)(A).

           2.     The property to be forfeited includes, but is not limited to:

                  a.     Apple iPhone 6, Model Al549,IMEI 354444065251649, and

                  b.     Silver Enermax Computer Tower SIN: 13050210488.




                                                            A TRUE BILL:



                                                            FOREPERSON


     UNITED STATES ATTORNEY




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